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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

                                CASE NO. 6:23-cv-871-CEM-DCI

 CHRISTOPHER E. DORWORTH,

        Plaintiff,

 vs.

 JOEL MICAH GREENBERG et al.,

       Defendants.
 ___________________________________/

               THE MCCLATCHY COMPANY, LLC’S MOTION FOR
        LIMITED INTERVENTION AND FOR ACCESS TO JUDICIAL RECORDS

        The McClatchy Company, LLC, publisher of The Miami Herald (the “Herald”), moves to

 intervene in these proceedings for the limited purpose of obtaining access to judicial records, and

 to be granted access to the unredacted version of Defendants Motion for Attorneys’ Fees (the

 “Motion”) (DE 194) and the sealed and redacted exhibits to the Motion. The grounds for this

 Motion are:

                                    I.      INTRODUCTION

        According to the redacted version of the Motion that is currently accessible to the public,

 Defendants seek to recover attorneys’ fees and costs from Plaintiff on the basis of §772.104(3),

 Florida Statutes, which authorizes an award of reasonable attorneys’ fees and court costs “upon a

 finding that the claimant raised a claim which was without substantial fact or legal support.” DE

 194 at 23-27. Defendants argue that they are entitled to recover attorneys’ fees and costs for the

 additional and independent reason that the Court has the inherent authority to award attorneys’

 fees and costs to Defendants because Plaintiff allegedly acted with “subjective bad faith.” Id. at
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 27-30. According to what is written in the Motion, this alleged subjective bad faith includes

 Plaintiff allegedly making untrue statements in two verified complaints. Id. at 28.

        There are twenty-seven exhibits to the Motion. Seven of those exhibits are sealed in their

 entirety (Ex. Nos. 1, 2, 4, 11, 12, 13, and 19), and another exhibit is redacted (Ex. No. 27). As

 mentioned above, the Motion itself is redacted.

        According to Defendants, the Motion and those exhibits were filed under seal or redacted

 because they contain information that Plaintiff designated as confidential during the discovery

 process pursuant to a confidentiality agreement into which the parties entered. DE 195 at 2-4; DE

 186 at 4-5.    Defendants’ filings state that Defendants disagree that the information was

 appropriately designated as confidential under the parties’ agreement – and Defendants disagree

 that documents containing the information should be sealed or redacted when filed as exhibits to

 a motion for attorneys’ fees – but, in an abundance of caution, Defendants filed the materials under

 seal or in redacted form pending a ruling from the Court on whether sealing is appropriate. DE

 195, DE 186.

        Through this motion, the Herald seeks to intervene in this action for the limited purpose of

 obtaining access to judicial records, and to be granted access to (a) the unredacted version of the

 Motion, (b) Exhibits 1, 2, 4, 11, 12, 13, and 19 to the Motion, and (c) the unredacted version of

 Exhibit 27 to the Motion.

                                       II.     ARGUMENT

 A.     The Herald Has Standing To Intervene For The Purpose Of Obtaining Access To The
        Sealed And Redacted Materials.

        Through this Motion, the Herald seeks access to judicial records that have been sealed and

 redacted. The Herald, which is a daily newspaper that publishes the news throughout Florida, has

 standing to intervene in these proceedings for the purpose of obtaining access to, and a copy of,



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 those judicial records. See, e.g., Tribune Co. v. United States, 784 F.2d 1518, 1521 (11th Cir.

 1986) (“The press has standing to intervene in actions to which it is otherwise not a party in order

 to petition for access to court proceedings and records.”); Newman v. Graddick, 696 F.2d 796, 800

 (11th Cir. 1983) (“This Court has upheld the press’s standing to seek access in suits to which it is

 not a party.”).

 B.      The Sealed Documents Are Judicial Records To Which The Herald Has A Right Of
         Access.

         There can be no question that

                   [t]he common-law right of access to judicial proceedings, an essential
                   component of our system of justice, is instrumental in securing the integrity
                   of the process. Beyond establishing a general presumption that criminal and
                   civil actions should be conducted publicly, the common-law right of access
                   includes the right to inspect and copy public records and documents.

 See Chicago Trib. Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001)

 (internal citation omitted); see also Romero v. Drummond Co., Inc., 480 F.3d 1234, 1245 (11th

 Cir. 2007).

         The first step in determining whether the press and public have a right of access to materials

 filed with the Court in a civil action is to determine whether the materials at issue are “judicial

 records” to which the right of access attaches. See, e.g., Federal Trade Commission v. AbbVie

 Products, LLC, 713 F.3d 54, 62 (11th Cir. 2013) (quoting Bridgestone/Firestone, Inc., 263 F.3d at

 1311) (“‘When applying the common-law right of access federal courts traditionally distinguish

 between those items which may properly be considered public or judicial records and those that

 may not; the public presumptively has a access to the former, but not to the latter.’”) (internal

 brackets and ellipses omitted).

         In simplest terms, “[a] motion that is presented to the court to invoke its powers or affect

 its decisions, whether or not characterized as dispositive, is subject to the public right of access.”



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 See Romero, 480 F.3d at 1246 (internal quotation marks and citation omitted). Here, the Herald

 seeks access to a motion for attorneys’ fees and the exhibits to that motion. At least one district

 court within the Eleventh Circuit has considered this exact issue in the same context as exists here.

        In BASF Corp. v. SNF Holding Co., 2019 WL 2881594, at *2, 4 (S.D. Ga. July 3, 2019),

 portions of the defendants’ motion for attorneys’ fees contained information that had previously

 been designated as confidential during discovery pursuant to a protective order. After citing the

 decisions of the U.S. Supreme Court holding that “[t]he right of access to judicial records pursuant

 to common law is well-established” and “[t]his right extends to the inspection and the copying of

 court records and documents,” the district court held that the movants-defendants were not

 required to file the motion and the “confidential” discovery material under seal:

                Because Defendants’ Motion invokes the Court’s powers to determine
                substantive rights and asks it to assess the underlying merits of Plaintiff’s
                case, the Motion and the discovery material it discusses are plainly judicial
                records. Therefore, the common law presumption of public access attaches
                to Defendants’ Motion for Attorneys’ Fees and Expenses and the content
                therein.

 Id. at 6 (internal citations omitted); see also id. at 4 (citing Nixon v. Warner Communications, Inc.,

 435 U.S. 589, 597 (1978)).

        That is the same situation that exists here. By filing the Motion, Defendants have invoked

 this Court’s powers to determine substantive rights. Additionally, because the Motion seeks the

 imposition of attorneys’ fees and costs on the basis of allegations that Plaintiff’s claims lacked

 factual or legal support – and that Plaintiff’s verified pleadings supposedly contained untrue

 statements – the Motion also asks the Court to assess the underlying merits of Plaintiff’s case. The

 Motion and its exhibits are judicial records to which the public’s right of access attaches.

        “Still, determining that a document is a judicial record is not the end of the inquiry. It is

 true—such records are presumptively available to the public under the common law so that the



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 judicial process can remain accessible and accountable to the citizens it serves. But even when the

 right of public access attaches, it is not absolute.” See Callahan v. United Network for Organ

 Sharing, 17 F.4th 1356, 1363 (11th Cir. 2021) (internal quotation marks omitted). Even if a

 showing of “good cause” were all that is necessary to overcome the public’s right of access to the

 sealed materials here, Plaintiff cannot meet that standard.

         “The common law right of access may be overcome by a showing of good cause, which

 requires ‘balanc[ing] the asserted right of access against the other party's interest in keeping the

 information confidential.’” See Romero, 480 F.3d at 1246 (quoting Bridgestone/Firestone, 263

 F.3d at 1309).

                  [W]hether good cause exists . . . is . . . decided by the nature and character
                  of the information in question. In balancing the public interest in accessing
                  court documents against a party's interest in keeping the information
                  confidential, courts consider, among other factors, whether allowing access
                  would impair court functions or harm legitimate privacy interests, the
                  degree of and likelihood of injury if made public, the reliability of the
                  information, whether there will be an opportunity to respond to the
                  information, whether the information concerns public officials or public
                  concerns, and the availability of a less onerous alternative to sealing the
                  documents.

 Id. (internal citations and citation omitted) (ellipses in original).

         In opposing Defendants’ motion seeking leave to file the entirety of the Motion and its

 exhibits in the publicly available docket, Plaintiff points to notions of privacy, libel, and

 embarrassment as constituting good cause to seal those materials. 1 DE 199 at 10-11. However,

 where, as here, the plaintiff’s publicly available verified amended complaint (DE 62) makes



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   Plaintiff also argues that good cause exists for sealing because “[d]etermination of fees on the
 underlying merits of a claim, if proper at all, should be confined to the record of the matters that
 were before the Court in the case before it was closed. New merits materials for merits arguments,
 submitted after closure, are presumptively laid for an improper purpose when merits jurisdiction
 has ended, and should be so treated by the Court.” DE 199 at 10. Plaintiff cites no authority in
 support of that argument.


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 detailed and serious allegations of racketeering and extortion against the defendants – and where

 the publicly available portions of the defendants’ motion for attorneys’ fees (DE 194) allege that

 those verified allegations are provably false – there is no good cause to seal any or all of the Motion

 and its exhibits. Indeed, as Judge Irick correctly noted at a discovery hearing on August 13, 2024:

                 This is a case of public importance. It is one that there may be media interest
                 in, and it’s one that involves important issues. And the interest in sealing
                 this to protect—I’m not seeing any confidentialities that would really
                 overwhelm the First Amendment right for the public to see this case,
                 especially when a plaintiff brings claims in relation to their marriage and
                 spouses and the kind of intimate issues in this case which are laid out in
                 extreme detail in the—in the complaint. I am unlikely to seal anything
                 because it all seems relevant. It’s been made relevant by the allegations in
                 the complaint.

 DE 186 at 3 (quoting DE179 at 27:7–17).

         The Motion and its exhibits are judicial records to which the common law right of access

 attaches, and there is no good cause that, in the circumstances here, overcomes the public access

 to them.

                                       III.    CONCLUSION

         For these reasons, the Herald respectfully requests the entry of an Order granting it

 permission to intervene in this action for the limited purpose of obtaining access to judicial records,

 and granting it access to (a) the unredacted version of the Motion, (b) Exhibits 1, 2, 4, 11, 12, 13,

 and 19 to the Motion, and (c) the unredacted version of Exhibit 27 to the Motion.

                                CERTIFICATE OF CONFERRAL

         Prior to filing this Motion, counsel for the Herald conferred with counsel for the parties

 regarding the relief requested in this Motion. Counsel for Plaintiff stated that although Plaintiff

 might not oppose intervention at an appropriate time, Plaintiff opposes it at this juncture, and

 opposes the Herald’s request for access to the sealed and redacted materials identified in the

 Motion. Defendants Joel Greenberg, Andrew Greenberg, Susan Greenberg, Abby Greenberg, and


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 AWG, Inc. do not oppose the Herald intervening for the limited purpose of seeking access to

 judicial records, and do not oppose the Herald being granted access to the materials identified in

 this Motion. Defendant Greenberg Dental Associates, LLC, Greenberg Dental & Orthodontics,

 P.A., and Greenberg Dental Specialty Group, LLC take no position on the Motion and do not

 intend to file any response to the Motion.

                                              Respectfully submitted,

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                                              Attorneys for The Herald
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                                              By: /s/ Scott D. Ponce
                                              Scott D. Ponce (FBN 0169528)


                                 CERTIFICATE OF SERVICE

        I certify that on October 2, 2024, I electronically filed this document using the Court’s

 CM/ECF system, which will serve it by e-mail on all counsel of record.


                                              By: /s/ Scott D. Ponce




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